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   9
                                   UNITED STATES DISTRICT COURT
  10
                                 CENTRAL DISTRICT OF CALIFORNIA
  11
  12
     ALAN BAKER,                                       Case No. 2:19-cv-08024-ODW-JC
  13 LINDA B. OLIVER,
                                                       ALLSTATE INSURANCE
  14                     Plaintiffs,                   COMPANY’S EX PARTE
                                                       APPLICATION FOR AN ORDER:
  15            v.                                     (1) DISMISSING THIS ACTION,
                                                       (2) DISQUALIFYING
  16 ALLSTATE INSURANCE                                CHRISTOPHER HOOK AS
     COMPANY,                                          PLAINTIFFS’ COUNSEL, (3)
  17 EDWARD CARRASCO, and DOES 1                       RESTRAINING MR. HOOK FROM
     through 10, inclusive,                            COMMUNICATING WITH OR
  18                                                   APPROACHING ALLSTATE OR
                  Defendants.                          ITS ATTORNEYS, (4) STOPPING
  19                                                   DEPOSITIONS FROM
                                                       PROCEEDING, AND (5)
  20                                                   AWARDING SANCTIONS.
  21                                                   Hon. Otis D. Wright II
  22                                                   Dept:    First Street Courthouse,
                                                                Courtroom 5D
  23
  24                                                   [Complaint Filed: August 13, 2019]
                                                       Trial Date:       None set
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                                                                    Case No. 2:19-cv-08024-ODW-JC
       SMRH:4841-9458-4750.1               ALLSTATE INSURANCE COMPANY’S EX PARTE APPLICATION
Case 2:19-cv-08024-ODW-JC Document 20 Filed 11/26/19 Page 2 of 2 Page ID #:158




   1            Defendant Allstate Insurance Company hereby applies for an ex parte order:
   2 (1) dismissing this action, (2) disqualifying Christopher Hook as Plaintiffs’ counsel,
   3 (3) restraining Mr. Hook from communicating with or approaching Allstate or its
   4 attorneys, (4) halting the depositions noticed by Plaintiffs from proceeding, and (5)
   5 awarding sanctions of $6370 against Mr. Hook.
   6            Allstate brings this application because Mr. Hook has engaged in continuing
   7 abusive and intolerable conduct including: sending numerous profanity-laced
   8 emails, using discriminatory epithets, and repeatedly threatening physical violence
   9 against Allstate’s witnesses, Allstate’s attorneys, and their families.
  10            Allstate makes this application under Local Rule 7-19, Federal Rule of Civil
  11 Procedure 65, and the Court’s inherent authority to regulate its docket and the
  12 conduct of its attorneys. The application is based on the supporting memorandum,
  13 the Declaration of Peter H. Klee and exhibits, and such other evidence as the Court
  14 may consider.
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  16 Dated: November 26, 2019
  17                                 SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
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  19
                                     By                   s/ Marc J. Feldman
  20                                                     MARC J. FELDMAN
  21
                                               Attorneys for Allstate Insurance Company
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                                               -1-               Case No. 2:19-cv-08024-ODW-JC
       SMRH:4841-9458-4750.1    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF EX PARTE
                                                                                  APPLICATION
